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1          LAW OFFICES OF
     CHRISTOPHER H. WING
2    A PROFESSIONAL CORPORATION
          1101 E STREET
3     SACRAMENTO, CA 95814
                    441-4888
               State Bar #063214
4

5    ATTORNEYS FOR:          Defendant
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8                                   IN THE UNITED STATES DISTRICT COURT

9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                        No. 2:06-cr-0356 FCD
12                                    Plaintiff,
                                                     ORDER CONTINUING HEARING
13        v.                                         FROM JULY 23, 2007, AT 10:00 AM.
                                                     TO AUGUST 20, 2007, AT 10:00 AM.
14                                                   EXCLUSION OF TIME FROM JUNE 4
     SAM WANG CHAO et al.,                           TO AUGUST 20, 2007
15                   Defendants.
                                                     “AS MODIFIED”
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18                                                 ORDER

19          This matter having come on before me pursuant to the stipulation of the parties

20   filed on July 20, 2007 and good cause appearing therefore,

21          IT IS ORDERED THAT: the Hearing now set for July 23, 2007, is vacated and

22   the matter set for a status conference on, August 20, 2007, at 10:00 am.

23          Further, the Court finds that the defendants' need for additional time to prepare

24   exceeds the public interest in a trial within 70 days and, therefore, the interests of justice

25   warrant a further exclusion of time until the hearing on August 20, 2007. Based upon

26   this finding and the representations of the parties, the Court excludes time from June 4,

27   2007, pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(B)(iv), Local Code T4

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               2      (time to allow sufficient time for counsel to prepare), until the next appearance on

               3      August 20, 2007, or by further order of this Court.

               4                Finally, the Court also finds that the defendants’ need for additional time to

               5      review the plea offers and to consider the prerequisites required to effectuate the

               6      proposed resolution also exceed the public interest in a trial within 70 days and,

               7      therefore, the interests of justice warrant an exclusion of the time from June 4, 2007, to

               8      August 20, 2007, which was hitherto excluded pursuant to pursuant to 18 U.S.C. §

               9      3161(h)(1)(F), Local Code E (time allowed for the filing of pretrial motions). The Court

             10       now finds that the time from June 4, 2007, to August 20, 2007, will be excluded

             11       pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), Local Code T4, to allow counsel and clients

             12       sufficient time to review the plea offers and take steps necessary to effectuate those

             13       offers.

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             15       DATED: July 20, 2007

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             17                                            _______________________________________
             18                                            FRANK C. DAMRELL, JR.
                                                           UNITED STATES DISTRICT JUDGE
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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.
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